                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION
 IN RE:                             )
                                    )       Case No. 3:19-bk-1971
 CAPSTONE PEDIATRICS, PLLC,         )       Chapter 11
                                    )       Judge Randal S. Mashburn
        Debtor.                     )

                  NOTICE OF FILING SECOND AMENDED DECLARATION

           Please take notice that Capstone Pediatrics, PLLC (the “Debtor”) has submitted the Second

 Amended Declaration of David W. Houston, IV in Support of Debtor’s Application for Entry of an

 Order Authorizing Retention and Employment of Burr & Forman LLP as Counsel to Debtor, Nunc

 Pro Tunc to the Petition Date (Doc. No. 82).

                                                Respectfully Submitted,

                                                /s/ David W. Houston, IV
                                                David W. Houston, IV (20802)
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                                                Proposed Counsel for Debtor Capstone Pediatrics,
                                                PLLC
                                   CERTIFICATE OF SERVICE

         On May 23, 2019, a true and correct copy of the foregoing document was filed
 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system
 to all parties indicated on the electronic filing receipt. Parties may access this filing through the
 Court’s electronic filing system.

                                                        /s/ David W. Houston, IV
                                                        David W. Houston, IV (020802)




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